         Case 1:04-cv-01335-FMA Document 110 Filed 03/12/10 Page 1 of 1




       In The United States Court of Federal Claims
                                          No. 04-1335C

                                      (Filed: March 12, 2010)
                                            __________
 JOSEPH BARNES,
 KAYLENE HOLUB,
 SOCORRO YOSUICO, et al.,

                        Plaintiffs,

        v.

 THE UNITED STATES,

                        Defendant.
                                            _________

                                            ORDER
                                           __________

        On March 11, 2010, plaintiffs filed an unopposed motion to file their memorandum
regarding attorneys’ fees and costs out of time. The court notes that this motion is lacking the
required certification that counsel has notified their clients that a motion for enlargement has
been filed out of time, pursuant to ¶ 3 of the Special Procedures Order in this case. For that
reason, among others, the motion is hereby DENIED.

       Notwithstanding, plaintiffs shall file their memorandum on or before Monday, March
15, 2010. Defendant shall file its response on or before March 29, 2010. No further extensions
of these deadlines will be granted.

       IT IS SO ORDERED.



                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
